             Case 04-26497-MBM                                   Doc 1            Filed 05/14/04 Entered 05/14/04 15:50:35                                                        Desc Main
(Official Form 1) (12/03) West Group, Rochester, NY                               Document      Page 1 of 2
  FORM B1                                               United States Bankruptcy Court
                                                      WESTERN District of PENNSYLVANIA
                                                                                                                                                                        Voluntary Petition
  Name of Debtor         (if individual, enter Last, First, Middle):                                        Name of Joint Debtor             (Spouse)(Last, First, Middle):


  Gillette, Sr., Randy J.
  All Other Names used by the Debtor in the last 6 years                                                    All Other Names used by the Joint Debtor in the last 6 years
  (include married, maiden, and trade names):                                                               (include married, maiden, and trade names):
  NONE




  Last four digits of Soc. Sec. No./Complete EIN or other Tax I.D. No.                                      Last four digits of Soc. Sec. No./Compete EIN or other Tax I.D. No.
  (if more than one, state all):3691                                                                        (if more than one, state all):
  Street Address of Debtor             (No. & Street, City, State & Zip Code):                              Street Address of Joint Debtor                (No. & Street, City, State & Zip Code):
  305 East Sheridan Ave
  New Castle PA 16105

  County of Residence or of the                                                                             County of Residence or of the
  Principal Place of Business:    Lawrence                                                                  Principal Place of Business:
  Mailing Address of Debtor (if different from street address):                                             Mailing Address of Joint Debtor                (if different from street address):
  SAME



  Location of Principal Assets of Business Debtor
  (If different from street address above):   NOT APPLICABLE



                                  Information Regarding the Debtor (Check the Applicable Boxes)
  Venue (Check any applicable box)
      Debtor has been domiciled or has had a residence, principal place of business, or principal assets in this District for 180 days immediately
      preceding the date of this petition or for a longer part of such 180 days than in any other District.
      There is a bankruptcy case concerning debtor's affiliate, general partner, or partnership pending in this District.

                    Type of Debtor (Check all boxes that apply)                                                        Chapter or Section of Bankruptcy Code Under Which
      Individual(s)                                                        Railroad                                          the Petition is Filed (Check one box)
      Corporation                                                          Stockbroker                          Chapter 7                         Chapter 11                      Chapter 13
      Partnership                                                          Commodity Broker                     Chapter 9                         Chapter 12
      Other                                                                Clearing Bank                        Sec. 304 - Case ancillary to foreign proceeding

                        Nature of Debts            (Check one box)
                                                                                                                                          Filing Fee (Check one box)
      Consumer/Non-Business                                      Business
                                                                                                                Full Filing Fee attached
         Chapter 11 Small Business                     (Check all boxes that apply)                             Filing Fee to be paid in installments (Applicable to individuals only)
      Debtor is a small business as defined in 11 U.S.C. § 101                                                  Must attach signed application for the court's consideration
      Debtor is and elects to be considered a small business under                                              certifying that the debtor is unable to pay fee except in installments.
      11 U.S.C. § 1121(e) (Optional)                                                                            Rule 1006(b). See Official Form No. 3.

  Statistical/Administrative Information                         (Estimates only)                                                                          THIS SPACE IS FOR COURT USE ONLY

      Debtor estimates that funds will be available for distribution to unsecured creditors.

      Debtor estimates that, after any exempt property is excluded and administrative expenses
      paid, there will be no funds available for distribution to unsecured creditors.

                                                     1-15        16-49        50-99      100-199     200-999     1000-over
  Estimated Number of Creditors


  Estimated Assets
   $0 to          $50,001 to       $100,001 to        $500,001 to        $1,000,001 to   $10,000,001 to $50,000,001 to      More than
  $50,000          $100,000         $500,000           $1 million         $10 million      $50 million   $100 million      $100 million



  Estimated Debts
   $0 to          $50,001 to       $100,001 to        $500,001 to        $1,000,001 to   $10,000,001 to $50,000,001 to      More than
  $50,000          $100,000         $500,000           $1 million         $10 million      $50 million   $100 million      $100 million
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  Voluntary Petition                                                                Name of Debtor(s):                                                FORM B1, Page 2
  (This page must be completed and filed in every case)
                                                                           Randy J. Gillette, Sr.
                               Prior Bankruptcy Case Filed Within Last 6 Years (If more than one, attach additional sheet)
  Location Where Filed:                                                             Case Number:                                    Date Filed:
 NONE
Pending Bankruptcy Case Filed by any Spouse, Partner or Affiliate of this Debtor (If more than one, attach additional sheet)
  Name of Debtor:                                                                   Case Number:                                    Date Filed:
  NONE
  District:                                                                         Relationship:                                   Judge:


                                                                              Signatures
                     Signature(s) of Debtor(s) (Individual/Joint)                                                     Exhibit A
 I declare under penalty of perjury that the information provided in this                   (To be completed if debtor is required to file periodic reports
 petition is true and correct.                                                              (e.g., forms 10K and 10Q) with the Securities and Exchange
 [If petitioner is an individual whose debts are primarily consumer debts                   Commission pursuant to Section 13 or 15(d) of the Securities
 and has chosen to file under chapter 7] I am aware that I may proceed                      Exchange Act of 1934 and is requesting relief under Chapter 11)
 under chapter 7, 11, 12, or 13 of title 11, United States Code, understand                 Exhibit A is attached and made a part of this petition
 the relief available under each such chapter, and choose to proceed
 under chapter 7.                                                                                                       Exhibit B
 I request relief in accordance with the chapter of title 11, United States                                (To be completed if debtor is an individual
 Code, specified in this petition.                                                                         whose debts are primarily consumer debts)
                                                                                   I, the attorney for the petitioner named in the foregoing petition, declare
  X /s/ Randy J. Gillette, Sr.                                                     that I have informed the petitioner that [he or she] may proceed under
      Signature of Debtor
                                                                                   chapter 7, 11, 12, or 13 of title 11, United States Code, and have
  X                                                                                explained the relief available under each such chapter.
      Signature of Joint Debtor
                                                                                    X    /s/ Edgardo D. Santillan
                                                                                         Signature of Attorney for Debtor(s)                 Date
      Telephone Number (If not represented by attorney)

                                                                                                                       Exhibit C
      Date
                                                                                     Does the debtor own or have possession of any property that poses
                                       Signature of Attorney                         or is alleged to pose a threat of imminent and identifiable harm to
                                                                                     public health and safety?
                                                                                           Yes, and exhibit C is attached and made a part of this petition.
  X /s/ Edgardo D. Santillan                                                               No
      Signature of Attorney for Debtor(s)

      Edgardo D. Santillan 60030                                                                     Signature of Non-Attorney Petition Preparer
      Printed Name of Attorney for Debtor(s)                                       I certify that I am a bankruptcy petition preparer as defined in 11 U.S.C.
      Santillan & Eisen, P.C.                                                      § 110, that I prepared this document for compensation, and that I have
      Firm Name                                                                    provided the debtor with a copy of this document.
      650 Corporation Street
      Address                                                                           Printed Name of Bankruptcy Petition Preparer

      Suite 304
                                                                                        Social Security Number

      Beaver PA               15009
                                                                                        Address

      724.770.1040
      Telephone Number                         Date


                  Signature of Debtor (Corporation/Partnership)
 I declare under penalty of perjury that the information provided in this               Names and Social Security numbers of all other individuals who
 petition is true and correct, and that I have been authorized to file this             prepared or assisted in preparing this document:
 petition on behalf of the debtor.
 The debtor requests relief in accordance with the chapter of title 11,
 United States Code, specified in this petition.
                                                                                        If more than one person prepared this document, attach additional
                                                                                        sheets conforming to the appropriate official form for each person.
  X
      Signature of Authorized Individual
                                                                                    X
                                                                                        Signature of Bankruptcy Petition Preparer
      Printed Name of Authorized Individual

                                                                                        Date
      Title of Authorized Individual
                                                                                   A bankruptcy petition preparer's failure to comply with the provisions
                                                                                   of title 11 and the Federal Rules of Bankruptcy Procedure may result
      Date
                                                                                   in fines or imprisonment or both 11 U.S.C. § 110; 18 U.S.C. § 156.
